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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

LONTEX14 LLC and BLAINE
DECKER,

      Plaintiffs,

v.                                      Case No.: 8:23-cv-104-JSM-NHA

VETCOR FRANCHISING, LLC,
PAUL HUSZAR, MIKE LONG, and
SCOTT WALDEN,

      Defendants.
                                    /

             ORDER DENYING MOTION TO COMPEL (DOC. 43)

      I deny without prejudice Plaintiffs’ motion to compel discovery responses

(Doc. 43).

      On May 28, 2024, Plaintiffs moved to compel responses to interrogatories

and requests for production that they served on Defendants in December 2023.

Doc. 43. Counsel for Defendants VetCor Franchising, LLC, Paul Huszar, and

Mike Long 1 responded, opposing the motion. Doc. 54. Thereafter, the parties

filed a joint notice in which Plaintiffs acknowledged that they had received




1 After Plaintiffs filed the motion, counsel for Defendant Scott Walden moved

to withdraw. Doc. 45. The Court granted the motion and ordered new counsel
to appear on behalf of Mr. Walden by July 5, 2024, unless Mr. Walden wished
to proceed pro se. Doc. 49.
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responses to all outstanding discovery requests from Defendants VetCor

Franchising, LLC, Paul Huszar, and Mike Long. Doc. 58.

        At the parties’ request (id., p. 3), I deny the motion to compel as moot

with respect to Defendants VetCor Franchising, LLC, Paul Huszar, and Mike

Long.

        In addition, I deny the motion without prejudice as to Defendant Scott

Walden. Mr. Walden is not presently represented by counsel, and, therefore,

was not included in the parties’ recent attempts to confer and resolve the

outstanding discovery disputes. See Docs. 49 & 58. The Court directs Plaintiff

to confer with Mr. Walden or his counsel after July 5th (see Doc. 49, setting

deadline for new counsel for Mr. Walden to file a notice of appearance if Mr.

Walden does not wish to proceed pro se) and file an updated motion with the

Court, if necessary.

        Plaintiffs’ Motion to Compel (Doc. 43) is DENIED without prejudice.

        ORDERED in Tampa, Florida on June 26, 2024.




Copies to:
Scott Walden
15124 Appaloosa Hills Dr.,
Dade City Florida 33523



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